                 Case 25-10094-BLS            Doc 51-4       Filed 03/04/25       Page 1 of 13




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

     In re:                                                 Chapter 7

     CANOO INC. et al., 1                                   Case No. 25-10094 (BLS)

                    Debtors.                                (Jointly Administered)

                                       CERTIFICATE OF SERVICE

           I, Mark E. Felger, hereby certify that on Tuesday, March 4, 2025, I caused true and correct

copies of the following documents to be served via the Court’s NEF upon all parties receiving such

service.        The documents listed below were also served by First Class Mail or

e-mail upon all parties on the attached service list:


               1. Chapter 7 Trustee’s Motion for Entry of an Order: (A) Approving Asset
                  Purchase Agreement Pursuant to 11 U.S.C. § 363; and (B) Granting
                  Related Relief (and exhibits thereto);

               2. Asset Purchase Agreement;

               3. Notice of Executory Contracts and Unexpired Leases That May Be Assumed
                  and Assigned, Pursuant to Section 365 of the Bankruptcy Code, In
                  Connection With the Sale of Substantially all of the Estates’ Assets, and the
                  Proposed Cure Amounts; and

               4. Notice of Chapter 7 Trustee’s Motion for Entry of an Order: (A) Approving
                  Asset Purchase Agreement Pursuant to 11 U.S.C. § 363; and (B) Granting
                  Related Relief




1
     The Debtors in these cases are the following entities (the respective case numbers for each estate follows in
    parentheses): Canoo, Inc. (25-10094 BLS); EV Global Holdco LLC (25-10095 BLS); EV US Holdco Inc., (25-10096
    BLS); Canoo Technologies Inc. (25-10099 BLS); Canoo Manufacturing, LLC (25-10097 BLS); and Canoo Sales,
    LLC (25-10098 BLS.
           Case 25-10094-BLS   Doc 51-4    Filed 03/04/25   Page 2 of 13




Dated: March 4, 2025                COZEN O’CONNOR

                                    /s/ Mark E. Felger
                                    Mark E. Felger (DE 3919)
                                    Gregory F. Fischer (DE 5269)
                                    1201 N. Market Street, Suite 1001
                                    Wilmington, DE 19801
                                    T: (302) 295-2000
                                    mfelger@cozen.com
                                    gfischer@cozen.com
                                    Counsel to Jeoffrey L. Burtch, Chapter 7 Trustee




                                       2
               Case 25-10094-BLS   Doc 51-4     Filed 03/04/25   Page 3 of 13




                                   Canoo, Inc., et al.
                                     Service List

Die-Tech Services
2457 Waldorf Ct. NW
Walker, MI 49544


Midwest Mold Services
29900 Hayes Road
Roseville, MI 48066


OABL XXIII, LLC
299 Park Avenue, 25th Floor
New York, NY 10171

Snap On Credit LLC
droscioli@regerlaw.com


One William Street
Rick Hyman
fhyman@crowell.com

Heritage Global Partners
dbarkoff@hginc.com

Anthony Mannara <anthony@firsteurope.us>

Ty Lindley
Ty.Lindley@liquidityservices

Chafetz, Eric S. <EChafetz@lowenstein.com>

Tara Shaikh
tara@biditup.com

David Braccia <dbraccia@kingswoodus.com>

Bazian, Barry Z. <BBazian@goodwinlaw.com

Bert Ferrer <bert.ferrer@gm.com

Eytan Anisfeld <eytan@revelationmachinery.com

Vaughn Barber <vaughn@perfectionindustrial.com>



LEGAL\76038921\1
               Case 25-10094-BLS     Doc 51-4      Filed 03/04/25   Page 4 of 13




Scott Johnson <scott.johnson@indigotech.com

Matthew Dundon <md@dundon.com>

Andrew Kreitz <andrew@castelion.com

Jordan Colson <jordan@castelion.com>

Bailey Ambriz <bailey@castelion.com

O'Donnell, Sloane B. <sodonnell@fbtlaw.com>

Presario International <presariointernational@yahoo.com>
Michael Otunba <motunba26@gmail.com

Adam Russell <adamr@newmillcapital.com

Miller, Ann M <Ann.Miller@tdsecurities.com>
Gridelli, Craig <Craig.Gridelli@tdsecurities.com

gmilionis@spigroups.com <gmilionis@spigroups.com>

'Jose Paul Plackal' <josep@phoenixmotorcars.com>

'Denton Peng' <denton.peng@spigroups.com>;

spenchev@godaddy.com <spenchev@godaddy.com

Lacey SALERNO [mailto:lacey.salerno@llproducts.com]

Antonio Diaz <anton@padoracapital.com

Bharat Mantha <bharat@towerbridgecap.com>

deepak@towerbridgecap.com

Meg Canepa <mcanepa@fortress.com>
Christopher LiPuma <clipuma@fortress.com>;

Elizabeth Ridgway <elizabeth.ridgway@canoo.com>;

Ami Patel Shah <ashah@fortress.com>;

Seth Northrop <snorthrop@fortress.com>

Harbinger Motors
c/o Jonathan Bach
Shapiro Arato Bach LLC
jbach@shapiroarato.com


                                              2
LEGAL\76038921\1
               Case 25-10094-BLS       Doc 51-4   Filed 03/04/25   Page 5 of 13




Marcus Marek <marcus.marek@gm.com>

Michael Atchley michael@irsauction.com

Patrick Mensching <pmensching@dsda.com
Celeste Palmer <cpalmer@dsda.com>

NRavenscroft@BODMANLAW.COM

Sam Reich
Sreich@reichbrothers.com

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

California Department of Tax and Fee Administration
3321 Power Inn Road, Suite 210
Sacramento, CA 95826-3889

California Secretary of State
1500 11th St,
Sacramento, CA 95814

Office of the Attorney General
1300 "I" Street
Sacramento, CA 95814-2919

Texas Comptroller of Public Accounts
Attn: Bankruptcy
PO Box 13528, Capitol Station
Austin, TX 78711-3528


City of Justin
415 N College Avenue
P.O. Box 129
Justin, TX 76247

District Attorney
1450 E McKinney Street
Suite 3100
Denton, TX 76209-4524

Tax Assessor / Collector
1505 E McKinney Street
Denton, TX 76209

                                              3
LEGAL\76038921\1
               Case 25-10094-BLS      Doc 51-4   Filed 03/04/25   Page 6 of 13




Mayes County Assessor
One Court Place, Suite 110
Pryor, OK 74361

Mayes County District Attorney
One Court Place, Suite 250
Pryor, OK 74361

City Treasurer
Tim Goodrich
3031 Torrance Blvd.
Torrance, CA 90503

Torrance City Attorney
Patrick Sullivan
psullivan@torranceca.gov

Office of the County Counsel
County of Los Angeles
Kenneth Hahn Hall of Administration
500 West Temple Street #648
Los Angeles, CA 90012

Los Angeles County Tax Collector
225 N Hill St #1
Los Angeles, CA 90012

Office of the City Auditor
200 N Walker Ave., Room 212
Oklahoma City, OK 73102

Oklahoma County Treasurer
320 Robert S. Kerr Avenue
Oklahoma City, OK 73102

Office of the Attorney General
313 NE 21st St,
Oklahoma City, OK 73105

Oklahoma County District Attorney
211 N. Robinson #N700
Oklahoma City, OK 73102

pierce.rigney@troutman.com




                                             4
LEGAL\76038921\1
               Case 25-10094-BLS   Doc 51-4   Filed 03/04/25   Page 7 of 13




AFV Management Advisors, LLC
2126 Hamilton Road
Suite 260
Argyle, TX 76226

I-40 OKC Partners, LLC
2126 Hamilton Road
Suite 260
Argyle, TX 76226

Oklahoma Ordinance Works Authority
P.O. Box 945
Pryor, OK 74362

Alexander Roitman, Esq.
Seyfarth Shaw LLP
Two Seaport Lane
Suite 1200
Boston, MA 02210

15520 Hwy 114 LLC
2126 Hamilton Road
Suite 260
Argyle, TX 76226

15306 Hwy 114 LLC
2126 Hamilton Road
Suite 260
Argyle, TX 76226

Snap-On Credit LLC
950 Technology Way
Suite 301
Libertyville, IL 60048

Say Technologies LLC
85 Willow Road
Menlo Park, CA 94025-3656

JB Hunt Transport, Inc
615 JB Hunt Corporate Drive
Lowell, AR 72745




                                          5
LEGAL\76038921\1
               Case 25-10094-BLS   Doc 51-4   Filed 03/04/25   Page 8 of 13




LS EV Korea Ltd.
27 Gongdan-ro, 140 Beon-gil
Gunpo-si, Gyeonggi-do, 15845
Republic of Korea
LS EV Korea

AlixPartners LLP
2000 Town Center, #2400
Southfield, MI 48075

Craig Daigle
118 Orchard Drive
Midwest City, OK 73110

Arrow Electronics, Inc.
Jeffrey M. Galen, Esq.
Galen & Davis, LLP
Westlake Village, CA 91361

Broadridge Financial Solutions
1155 long Island Avanue
Edgewood, NY 11717

Utah State Tax Commission
Attn: Bankruptcy Unit
210 N 1950 W
Salt Lake City, UT 84134-9000

Artemis Consulting Group, Inc.
13221 N Teal Blue Trl
Tucson, AZ 85742-8670

Shenzhen LT Century Prototype Co., Ltd.
2F, 3rd Bldg., Jinyuda Industrial Park,
Shangliao Business Rd.,Shajing , Baoan,
Shenzhen, China 518125

Compensia, Inc.
548 Market Street, PMB #55353
San Francisco, CA 94104-5401

Airgas USA, LLC
6055 Rockside Woods Blvd
Independence, OH 44131




                                          6
LEGAL\76038921\1
               Case 25-10094-BLS      Doc 51-4        Filed 03/04/25   Page 9 of 13




Monument Policy Group, LLC dba Monument Advocacy
975 F Street NW
Suite 400
Washington, DC 20004

Airgas USA, LLC
110 W. 7th St.
Tulsa, OK 74119

Prelude Systems, Inc., a California Corporation
Kiran Babu Chandra, CEO
5 Corporate Park, Suite # 141
Irvine, CA 92606

Kyungshin Cable International Corporation
Parcela #101
Poligono 1 Fracc. 3
Gomex Palacio
Durano, Mexico CP 35120

ContiTech MGW GmbH
Sin Nombre
Delicias
Chihuahua, Mexico 33000

FWU JIH Die Casting Industrial Co. Ltd.
No. 1 Lane 38
Chung-E 1st Street
Rende District
Tainan City, Taiwan 71753

Interplex Suzhou Precision Engineering Ltd.
36 Xingming Street
CSS Industrial Park
Suzhou, China 215021

Oetiker NY Inc.
P.O. Box 74007134
Chicago, IL 60674

Rogers Luxembourg
Noorwegenstraat 3
Evergem
Oost-vlaanderen Belgium 9940




                                                  7
LEGAL\76038921\1
              Case 25-10094-BLS    Doc 51-4       Filed 03/04/25   Page 10 of 13




Sensata Technologies Inc.
P.O. Box 100139
Atlanta, GA 30384

Automatic Spring Products Corporation
803 Taylor Ave.
Grand Haven, MI 49417

BlueTech Global LLC
100 W. Long Lake Rd.
Suite 111
Bloomfield Hills, MI 483047

Devries International Inc.
17671 Armstrong Ave.
Irvine, CA 92614

DN Automotive USA Inc.
24500 Northline Road
Taylor, MI 48180

Donaldson Company Inc.
P.O. Box 1299
Minneapolis, MN 55440

Dura Ganxiang Automotive Systems Shangai Co. Ltd.
2658 Jinzhang Road
Jinshan District
Shanghai, China 201518

EPCO Products Inc.
3736 Vanguard Drive
Fort Wayne, IN 46899

Filtran LLC
26804 Network Place
Chicago, IL 60673

Freudenberg NOK Sealing Technologies
P.O. Box 73229
Chicago, IL 60673

GGB LLC
P.O. Box 189
700 Mid Atlantic Parkway
Thorofare, NJ 08086


                                              8
LEGAL\76038921\1
              Case 25-10094-BLS       Doc 51-4       Filed 03/04/25   Page 11 of 13




Jing-Jin Electric North America LLC
34700 Grand River Ave.
Farmington Hills, MI 48335

MDA US LLC
P.O. Box 91683435
Chicago, IL 60691

NMB Technologies Corporation
9730 Independence Ave.
Chatsworth, CA 91311

POSCO International America Corp.
664 Nongong-ro
Nongong-eup
Dalseong-gun Daegu, Korea 42981

Principal Manufacturing Corporation
2800 S. 19th Avenue
Broadview, IL 60155

Schaeffler Group USA Inc.
15290 Collections Center Dr.
Chicago, IL 60693

SHW Automotive Pumps (Kunshan) Co Ltd.
369 Yuyang Road
Suzhou, China 215300

Grand River Dam Authority
P.O. Box 669
Chouteau, OK 74337

OG&E
P.O. Box 24990
Oklahoma City, OK 73124

Electrical Solutions of Oklahoma
P.O. Box 10948
Midwest City, OK 73140

New American Group, LLC dba American Group LLC
605 W Knox Road
Suite 206
Tempe, AZ 85284



                                                 9
LEGAL\76038921\1
              Case 25-10094-BLS       Doc 51-4    Filed 03/04/25   Page 12 of 13




Mediant Communications Inc.
400 Regency Forest Drive
Suite 200
Cary, NC 27518

Oxford Global Resources LLC
900 Cummings Ctr.
Suite 326T
Beverly, MA 01915

Composite Envisions LLC
8450 Development Ct.
Wausau, WI 54401

Elliott Electric Supply, Inc.
Misti L. Beanland
Matthews, Shiels, Knott, LLP
8131 LBJ Freeway, Suite 700
Dallas, TX 75251

Louisiana Workforce Commission
1001 North 23rd Street, First Floor
Baton Rouge, LA 70802

FPS Technologies Inc.
P.O. Box 14780
Oklahoma City, OK 73113

FedEx Express Corporation
3965 Airways Blvd.
Module G, 4th Floor
Memphis, TN 38116

Bauer Associates, Inc.
44190 Plymouth Oaks Blvd.
Plymouth, MI 48170-2584

Automotive Testing and Development Services, Inc.
400 Etiwanda Ave.
Ontario, CA 91761

Spectrum Business
Charter Communications
P.O. Box 6030
Carol Stream, IL 60197



                                             10
LEGAL\76038921\1
              Case 25-10094-BLS       Doc 51-4    Filed 03/04/25   Page 13 of 13




Tachi-S Engineering, Inc.
James A. Plemmons
500 Woodward Ave, Suite 4000
Detroit, MI 48226

Fairchild Industries, Inc.
475 Capital Drive
Lake Zurich, IL 60047

Flexible Circuit Technologies, Inc.
9850 51st Ave. N
Suite 110
Plymouth, MN 55442




                                             11
LEGAL\76038921\1
